Case 2:05-cr-20039-.]PI\/| Document 31 Filed 05/27/05 Page 1 of 3 Page|D 36

IN 'I’HE UNI'I`ED S'I'ATES DISTRICT COUR'I'
FOR THE WESTERN DIS'I`RICT OF TENNESSEE
WESTERN DIVISION

 

UNI'I`ED S'I`ATES OF AMERICA
Plaintiff,

V.

ég£éé? i/g>r??%§r¢€ly%r
@p`~,w‘ f.é`//o</c¢ //¢/5

Criminal No. (_jé- wig Ml

(60-Day Continuance)

 

 

 

~_,-_,,»`_/\_/`_/`_»`_,~__,`_,`_/~_/~__,V\_¢`_,~__-__,`_,\_/

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I`IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the June
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, JulV 22, 2005, with trial to take place on
the August, 2005, rotation calendar With the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open

court at report date this 27th day of May, 2005.

T`n;s document entered on the docket sheet in compliance
mm Hu|e ¢'E ami/or 32(|:)) FFiCrP on w "'

 

Case 2:05-cr-20039-.]PI\/| Document 31 Filed 05/27/05 Page 2 of 3 Page|D 37

SO ORDERED this 27th day Of May, 2005.

0 fm Q_QQ».

 

JO PHIPPS MCCALLA

_ UN TED STATES DISTRICT JUDGE

 

    

 

 

 

 

Counsel for Defendant(s)

 

thice cf Distributicn

This notice confirms a copy cf the document docketed as number 31 in
case 2:05-CR-20039 Was distributed by faX, mail, or direct printing on
May 31, 2005 tc the parties listed.

ENNESSEE

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
1\/lemphis7 TN 38103

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

DeWun R. Settle

LAW OFFICE OF DEWUN R. SETTLE
100 N. Main Bldg.

Ste. 3001

1\/lemphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

